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                           LINITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 LUBBOCKDIVISION

 IINITED STATES OF AMERICA,
    P1ainffi,

                                                           NO. 5:20-CR-008-03-H

 ERASMUS TACHMONITE WATSON
 (3),
     Defendant.


                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF TIIE I,JMTED STATES MAGISTRATE JUDGE
                          CONCERNING PLEA OF GI,JILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry

 of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

 Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

 having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

 $ 636(bX1), the undersigrred District Judge is ofthe opinion that the Report and

 Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

 hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

 Defendant is hereby adjudged guilty.

        Sentence will be imposed in accordance with the Court's scheduling order.

        SO ORDERED.

        oateavrarchl ,2020


                                           JAME WESLEYHENDRIX
                                           UNI D STATES DISTRICT ruDGE
